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 6
 7                                UNITED STATED DISTRICT COURT
 8                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10   THE BLACKLIST ONLINE, LLC, a                          Case No.: 22-CV-02378-SK
     Delaware limited liability company and
11   SHALON DONEY
                                                           STIPULATED DISMISSAL OF ACTION
12                  Plaintiff,                             WITH PREJUDICE

13          v.                                             [FRCP 41]
14
15   MATTHEW WAGNER and ADAM
     CAMPBELL, individuals,
16
                    Defendants.
17
18          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(a)(ii), Plaintiffs The Blacklist

19   Online, LLC and Shalon Doney and Defendants Matthew Wagner and Adam Campbell hereby

20   stipulate to the dismissal of this action with prejudice.

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                                                       1                   STIPULATED DISMISSAL
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